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8 UNITED STATES DISTRICT COURT
9 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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11}| VIRGINIA DUNCAN, RICHARD LEWIS, No. 3:17-cv-01017-BEN-JLB
PATRICK LOVETTE, DAVID MARGUGLIO,
12|| CHRISTOPHER WADDELL, and CALIFORNIA | MEMORANDUM IN SUPPORT OF
3 RIFLE & PISTOL ASSOCIATION, INC., a EVERYTOWN FOR GUN
California corporation, SAFETY’S MOTION FOR LEAVE
14 TO PARTICIPATE AS AMICUS
Plaintiffs, CURIAE
15
Vv. Hearing Date: April 30, 2018
16 Hearing Time: 10:30 a.m.
XAVIER BECERRA, in his official capacity as
17}| Attorney General of the State of California; and Filing Date: April 16, 2018
DOES 1-10,
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19 Defendants.
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MEMORANDUM IN SUPPORT OF EVERYTOWN’S MOTION FOR LEAVE TO PARTICIPATE AS AMICUS CURIAE
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I. INTRODUCTION

Everytown for Gun Safety (“Everytown’”) hereby moves for leave to file the attached
amicus brief in support of Defendant’s Opposition to Plaintiffs’ Motion for Summary Judgment
or, Alternatively, Partial Summary Judgment in this constitutional challenge to California Penal
Code § 32310 as amended by Proposition 63 (hereinafter, “Proposition 63”) banning the
possession of large-capacity magazines.! Everytown is the largest gun violence prevention
organization in the country, with supporters in every state, including tens of thousands of
California residents and the mayors of forty California cities. Part of Everytown’s mission is to
assist courts in evaluating Second Amendment challenges to common sense gun laws by
presenting its substantial research on historical firearms laws and expertise in gun law doctrine.
Il. ARGUMENT

District courts have “broad discretion to appoint amici curiae.” Hoptowit v. Ray, 682
F.2d 1237, 1260 (9th Cir. 1982), abrogated on other grounds by Sandin v. Conner, 515 U.S. 472
(1995). An amicus curiae can “assist[] in a case of general public interest, supplement[] the
efforts of counsel, and draw[] the court’s attention to law that escaped consideration.” Méiller-
Wohl Co. v. Comm’r of Labor & Indus., 694 F.2d 203, 204 (9th Cir. 1982). “District courts have
discretion to accept amicus briefs from nonparties concerning legal issues that have potential
ramifications beyond the parties directly involved or if the amicus has ‘unique information or
perspective that can help the court beyond the help that the lawyers for the parties are able to
provide.’” Gabriel Techs. Corp. v. Qualcomm Inc., No. 08CV1992 AJB MDD, 2012 WL
849167, at *4 (S.D. Cal. Mar. 13, 2012) (quoting Ryan v. Commodity Futures Trading Com’n,
125 F.3d 1062, 1064 (7th Cir. 1997). Moreover, there is “no rule that amici must be totally
disinterested.” Korolshteyn v. Costco Wholesale Corp., No. 3:15-CV-709-CAB-RBB, 2017 WL
3622226, at *1 (S.D. Cal. Aug. 23, 2017). Everytown submits that these standards counsel in

favor of the Court exercising its discretion to permit Everytown to file its brief as amicus curiae.

' Defendants consent to this request, which is being filed within seven days of their Opposition
to Plaintiffs’ Motion for Summary Judgment. Plaintiffs have indicated that they will not oppose
the request.

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Everytown’s proposed amicus brief seeks to inform the Court’s analysis as to the first
step of it Second Amendment analysis, specifically, “whether the challenged law burdens
conduct protected by the Second Amendment.” United States v. Chovan, 735 F.3d 1127, 1136
(9th Cir. 2013). The proposed brief presents historical analysis that situates Proposition 63 in a
long tradition of laws prohibiting or regulating weapons that legislatures have determined to be
unacceptably dangerous—including a century of restrictions on firearms capable of firing a large
number of rounds without reloading. While this historical context alone should be sufficient for
this Court to find Proposition 63 to be constitutional under Heller, see District of Columbia v.
Heller, 554 U.S. 570, 626-27 (2008), this brief also addresses why the “common use” test
suggested by Plaintiffs is circular and should not persuade this Court.

Everytown’s brief provides a unique perspective and expertise that merits granting
Everytown’s Motion here. See Korolshteyn, 2017 WL 3622226, at *1 (quoting Missouri v.
Harris, No. 2:14-cv-00341-KJM-KJN, 2014 WL 2987284, at *2 (E.D. Cal. July 1, 2014)) (“An
amicus brief should normally be allowed when, among other considerations, the amicus has
unique information or perspective that can help the court beyond the help that the lawyers for the
parties are able to provide.”). Everytown has provided similar expertise in several recent cases.
See, e.g., Brief for Everytown for Gun Safety as Amicus Curiae Supporting Defendant-
Appellant, Duncan v. Becerra, No. 17-56081 (9th Cir. Oct. 19, 2017), ECF 47; Brief for
Everytown for Gun Safety as Amicus Curiae Supporting Defendants, Wiese v. Becerra, 2:17-cv-
00903-WBS-KJN (E.D. Cal. Oct. 4, 2017), ECF 63; Brief for Everytown for Gun Safety as
Amicus Curiae Supporting Defendants, Flanagan v. Becerra, 2:16-cv-06164-JAK-AS (C.D. Cal.
Sept. 18, 2017), ECF 54-1; Brief for Everytown for Gun Safety as Amicus Curiae Supporting
Appellees, Wrenn v. District of Columbia, 864 F.3d 650 (D.C. Cir. July 20, 2016) (No. 16-7025),
ECF 49; Brief for Everytown for Gun Safety as Amicus Curiae Supporting Appellee, Pefia v.
Lindley, No. 15-15449 (9th Cir. Sept. 28, 2015), ECF 34; Brief for Everytown for Gun Safety as
Amicus Curiae Supporting Appellees, Peruta v. Cty. of San Diego, 824 F.3d 919 (9th Cir. Apr.
30, 2015) (Nos. 10-56971, 11-16255), ECF 150; Brief for Everytown for Gun Safety as Amicus

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Curiae Supporting Appellant, Si/vester v. Harris, 843 F.3d 816 (9th Cir. Apr. 1, 2015) (No. 14-
16840), ECF 34.

In addition, the Court should grant leave for Everytown to submit an amicus brief
because this case implicates important public interests, including California citizens’ interest in
public safety, with ramifications beyond the parties directly involved. Proposition 63 was
approved by California voters to address serious public safety concerns, giving the voters a direct
interest in the outcome of this case. Moreover, the resolution of Defendants’ Motion will
necessarily involve application of Second Amendment constitutional principles, which will have
broader jurisprudential implications for other firearm regulation litigation nationwide. See
California v. U.S. Dep’t of Labor, No. 2:13-CV-02069-KJM-DAD, 2014 WL 12691095, at *1
(E.D. Cal. Jan. 14, 2014) (granting leave to file amicus brief where case implicated constitutional
issues and therefore had “potential ramifications beyond the parties directly involved” (internal
citation omitted)).

Il. CONCLUSION

For the reasons stated above, Everytown respectfully requests that this Court grant leave
for it to participate as amicus curiae and submit a brief in support of Defendants’ Motion to
Dismiss Plaintiffs’ Second Amended Complaint.

Respectfully submitted,
Dated: April 16, 2018 DAVIS POLK & WARDWELL LLP

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